Case 2:20-cv-00894-GRB-ARL Document 20 Filed 08/25/20 Page 1 of 2 PageID #: 203




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK


  RIPPLE ANALYTICS INC.,                                      Civ. Action No. 2:20-cv-00894
                                                              (GRB)(ARL)
                 Plaintiff and Counterclaim Defendant,
                                                              DECLARATION OF
         - against -                                          DYAN FINGUERRA-DUCHARME

  PEOPLE CENTER, INC. d/b/a RIPPLING,

                 Defendant and Counterclaim Plaintiff.


 DYAN FINGUERRA-DUCHARME, declares as follows:

        1.      I am an attorney licensed to practice before the courts of the State of New York and

 the United States District Court for the Eastern District of New York. I am a partner at the law

 firm Pryor Cashman LLP (“Pryor Cashman”).

        2.      I respectfully submit this declaration, pursuant to Local Civil Rule 1.4 of the United

 States District Court for the Eastern District of New York, in support of my Motion for Leave to

 Withdraw as Attorney of Record (the “Motion”) for plaintiff Ripple Analytics Inc. (“Plaintiff”).

        3.      The reason for this Motion is that after consultation with Plaintiff it was decided

 that its best interests would be served by the retention of new counsel. Plaintiff accordingly has

 chosen to retain Leason Ellis LLP as successor counsel to Pryor Cashman LLP.

        4.      Plaintiff has agreed to my withdrawal as counsel in this matter.

        5.      We have conferred with counsel for Defendant who has stated that Defendant does

 not object to this Motion.

        6.      This Motion is being served on Defendant via ECF. Prior to filing on ECF, a copy

 of this Motion and Declaration was provided to Plaintiff’s principal, Mr. Noah Pusey, via email.
Case 2:20-cv-00894-GRB-ARL Document 20 Filed 08/25/20 Page 2 of 2 PageID #: 204




        7.      The parties are presently in discovery, with all discovery to be completed by March

 12, 2021, pursuant to the Scheduling Order in the case (ECF No. 15).

        8.      I am not, and, to the best of my knowledge, Pryor Cashman is not, asserting a

 retaining or charging lien.

        9.      I respectfully submit that the withdrawal of counsel will not unnecessarily delay

 this action or prejudice any party, and therefore respectfully request that the Court grant the Motion.

 I certify under penalty of perjury that the foregoing is true and correct.

 Dated: New York, New York
        August 25, 2020
                                                        __/s/ Dyan Finguerra-DuCharme______
                                                        DYAN FINGUERRA-DUCHARME




                                                   2
